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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

ELIZABETH SMITH,                            )
                                            )
                     Plaintiff              )
                                            )
v.                                          )      2:19-cv-00222-GZS
                                            )
STATE OF MAINE, et al.,                     )
                                            )
                     Defendants             )


                         ORDER ON MOTION TO PROCEED
                             IN FORMA PAUPERIS

       Plaintiff Elizabeth Smith has filed a complaint in this Court. She has neither paid the

filing fee nor filed a proper application to proceed in forma pauperis. The motion to proceed

in forma pauperis filed by Plaintiff (ECF No. 2) lacks the information necessary for the Court

to determine whether to permit Plaintiff to proceed in forma pauperis. The Court, therefore,

denies the motion without prejudice.

       The Clerk is directed to forward to Plaintiff a form Application to Proceed Without

Prepaying Fees or Costs. Plaintiff is hereby ORDERED to file an Application to Proceed In

Forma Pauperis or pay the filing fee no later than June 11, 2019.

       If Plaintiff fails to pay the filing fee or file a completed Application on or before June

11, 2019, the Court could dismiss the matter.

                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge

Dated this 24th day of May, 2019.
